Case 1:18-cr-10101-STA          Document 45        Filed 10/23/18    Page 1 of 1      PageID 76




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )      Case No. 1:18-cr-10101-STA
                                                     )
SOLOMON CLAY,                                        )
                                                     )
       Defendant.                                    )


        ORDER CONTINUING REPORT DATE/SCHEDULING CONFERENCE
                      AND NOTICE OF RESETTING


       The Report Date/Scheduling Conference in this matter is set for November 9, 2018

before Chief Judge S. Thomas Anderson. The Report Date/Scheduling Conference in the above

styled matter shall be reset.    The Report Date/Scheduling Conference is hereby reset to

November 8, 2018, at 2:00 p.m. before Judge S. Thomas Anderson; Courtroom #1, 4th Floor,

US Courthouse, Jackson, Tennessee.




       Enter this the 23rd day of October, 2018.



                                                     s/ S. Thomas Anderson
                                                     Chief United States District Judge
